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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,           )
                                    )
            v.                      )
                                    )                 CRIMINAL NO. 1:19-cr-00374 (RDM)
AHMAD “ANDY” KHAWAJA,               )
                                    )
            Defendant.              )
____________________________________)

    GOVERNMENT’S OPPOSITION TO DEFENDANT KHAWAJA’S MOTION TO
       DESIGNATE MATERIAL WITNESS, FOR A RULE 15 DEPOSITION,
                       AND FOR DISCOVERY

       For more than four years, the defendant, Ahmad Khawaja, has refused to submit to this

Court’s jurisdiction and has remained a fugitive from justice. By his counsel’s own admission,

“[t]here is currently no date set for Mr. Khawaja’s return to the United States.” Affidavit of

Kenneth Julian, ECF No. 249. Yet he now audaciously asks this Court to provide him with

benefits—an order to designate his co-defendant, George Nader, as a material witness for trial, an

opportunity to depose Nader or detain him indefinitely until the defendant decides to return to the

United States, and an order requiring the government to prematurely produce criminal discovery—

without subjecting himself to the Court’s authority to enforce any of its rulings. See ECF No. 250.

The Court should deny the defendant’s motion for three reasons: (1) the fugitive disentitlement

doctrine divests the defendant of his right to seek relief from the Court while simultaneously

refusing to subject himself to the Court’s jurisdiction, (2) the defendant has failed to present

“exceptional circumstances” that warrant ordering a deposition, “in the interests of justice,” under

Federal Rule of Criminal Procedure 15, and (3) the defendant’s claim that Nader is a material

witness for a trial in this matter is unripe for judicial consideration because the defendant has not

been arraigned nor has he entered a “not guilty” plea; thus, it remains unknown whether a trial will



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actually occur. The Court should deny the defendant’s motion.

       I.      FACTUAL BACKGROUND

       The defendant engaged in a complex scheme to funnel more than $4 million in illegal

campaign contributions into the 2016 election for President of the United States. See generally

Indictment, ECF No. 1. As evidenced by the explicit electronic communications between the

defendant and Nader detailed in the Indictment, the defendant believed the contributions to be

funded by a foreign government seeking to influence a U.S. election. Specifically, the defendant

is accused of conspiring with Nader, a purported advisor to Middle Eastern governments, to funnel

more than $3.5 million originating from Nader and/or a foreign government into political

committees supporting one of the candidates for President in 2016. In doing so, the defendant and

Nader sought to gain access to, and influence with, the Presidential candidate and other high-level

U.S. government officials. Furthermore, to conceal his illegal activity, the defendant fabricated a

licensing agreement between his U.S.-based company, and Nader’s foreign company to make it

appear that the two were engaged in a legitimate commercial transaction, rather than the laundering

of funds for illegal political contributions. And, when the defendant could no longer contribute

money in his own name due to campaign contribution limits, he used his network of friends and

business associates, including his co-defendants, to funnel the illicit money into the campaign in

their names.

       Following the 2016 Presidential election, the defendant continued the scheme by funneling

$1 million to the U.S. President-Elect’s inaugural committee to gain further access to, and

influence with, incoming U.S. government officials. In 2017 and 2018, the defendant continued

his scheme, funneling hundreds of thousands of dollars of illegal and excessive campaign

contributions into political committees through his friends and business associates in a further



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effort to gain access to, and influence with, high-level elected officials. And in 2019, to conceal

the scheme, the defendant obstructed justice by telling a grand jury witness a false story about the

defendant’s business dealings and Nader’s involvement in those dealings.

               A.      The Defendant’s Status as a Fugitive

       In November 2019, a federal grand jury sitting in the District of Columbia returned a fifty-

three-count indictment charging the defendant and his co-defendants with crimes stemming from

the above-described scheme. 1 Before the indictment was returned, the defendant became aware

of the investigation into his campaign-related crimes.

       In August 2018, Special Agents from the Federal Bureau of Investigation (“FBI”)

attempted to execute a search warrant in the Central District of California for the defendant’s

person and personal effects, including any electronic devices in his possession. The agents called

the defendant, who declined to meet with the agents to turn over his phone. The next day, the

agents went to Allied Wallet, Inc., and waited for the defendant in the company’s parking lot. The

defendant exited the building, saw the agents, and began to run down a major thoroughfare in Los

Angeles. The defendant successfully evaded agents’ attempts to apprehend him and execute the

warrant. More than a week later, the defendant’s counsel arranged for the surrender of the

defendant’s phone. The phone, which had been purchased in August 2016, only contained three

text messages and forty-six WhatsApp conversations, none of which were pertinent to the

investigation, when it was surrendered. Agents later found evidence that the defendant conducted

an online search for “can you recover deleted text messages on iphone [sic]” and “How to Recover


1
  The defendant is charged separately in the District of Massachusetts in a single count superseding
indictment charging him with conspiracy to commit bank fraud and wire fraud stemming from a
$150 million payment processing scheme orchestrated by the defendant and other executives at
the defendant’s company, Allied Wallet, Inc. See United States v. Khawaja, et al., No. 21-cr-
10250, ECF No. 150 (D. Mass. Sep. 26, 2023).

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Deleted Text Messages.” Subsequently, evidence shows that the defendant began feeding cover

stories designed to mask criminal wrongdoing to his co-conspirators and other potential witnesses

against him.

       In June 2019, as the investigation continued, the defendant left the United States for

Lebanon, where he also maintained citizenship. 2 For the past five years he has failed to return to

the United States. While abroad, the defendant left Lebanon and entered Lithuania where he was

arrested. The defendant then allegedly sought asylum in Lithuania. Since arriving in Lithuania,

the defendant has continued to actively fight extradition back to the United States. As of the filing

of this opposition, the prosecution team has no information about when the defendant’s extradition

proceedings will conclude, nor what the outcome of those proceedings will be. The Lithuanian

authorities currently require three so-called “coercive measures” to secure the defendant’s

presence in Lithuania - bail, a written commitment not to leave his place of residence, and an

obligation to regularly register at a police station. However, under Article 17 of the Protocol to

the United States-Lithuania Extradition Treaty, the defendant may consent to waive extradition

proceedings in Lithuania in writing and be surrendered to the United States “as expeditiously as

possible without further proceedings.” If the defendant provided such consent, a Lithuanian court

would review his waiver of extradition and confirm its veracity. The court would then set a

deadline for removal, and the defendant would be remanded into Lithuanian police custody. The

United States Marshal’s Service would then remove the defendant as soon as practicable back to

the United States. The defendant has thus far declined to waive extradition proceedings and

continues to actively challenge removal to the United States.



2
  The United States did not then, and does not now, have an extradition treaty with Lebanon. As
far as the prosecution team is aware, Lebanon does not extradite its own citizens.

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       Evidence further shows that the defendant allegedly attempted to secure a fraudulent

passport for himself while he remained abroad. Specifically, in August 2020, agents with Customs

and Border Protection (“CBP”) intercepted the below fraudulent Mexican passport, that contained

the defendant’s last name and photograph, and was shipped from Mexico City, Mexico, to

Barranquilla, Colombia. The fraudulent passport was re-released and presumably delivered to its

intended recipient in Colombia. To date, the below passport does not appear to have been used.




       On February 5, 2020, as a result of the defendant’s failure to return to the United States,

Judge Ellen S. Huvelle, in her capacity as Chair of the Calendar and Case Management Committee

of the District Court for the District of Columbia, declared that the defendant was a fugitive and

reassigned this case to the Calendar Committee. ECF No. 43. Consistent with Judge Huvelle’s

declaration, this Court has also referred to the defendant as “a fugitive” during the trial of two of

his co-defendants:




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Tr. Transcript at 9 (Feb. 28, 2022).        In short, since November 2019, the defendant has

unequivocally remained a fugitive and has actively resisted efforts to secure his return to the United

States.

                 B.     George Nader’s Status

          In June 2019, Nader was arrested on charges unrelated to this case. See United States v.

Nader, Arrest Warrant, ECF No. 19, No. 1:19-cr-201 (E.D.V.A. Jun. 3, 2019). As this Court is well-

aware, Nader has remained in custody since that time. Nader pleaded guilty and was sentenced in

that case. See id., at ECF Nos. 171, 196. On July 22, 2020, Nader pleaded guilty to a one-count

Information, charging a violation of 18 U.S.C. § 371, for his role in the above-described conspiracy

with this defendant. United States v. Nader, ECF No. 9, No. 1:20-cr-103 (D.D.C. Jul. 22, 2020).

On July 18, 2023, this Court sentenced Nader to twenty months of incarceration to run

consecutively with his sentence in the Eastern District of Virginia. Id. at ECF No. 87. The Bureau

of Prisons currently projects Nader to be released on February 6, 2025.

          As a provision of Nader’s Judgement and Commitment Order in the Eastern District of

Virginia, Nader was permitted to self-deport once released from incarceration. ECF No. 197, No.

1:19-cr-201. However, this Court imposed the additional requirement that Nader appear for a reentry

hearing within sixty days of his release from incarceration. Judgement and Conviction Order, ECF

No. 87, No. 1:20-cr-103.

                 C.     Nader’s Role in the Defendant’s Conspiracy

          Nader was one of the defendant’s co-conspirators in carrying out the schemes charged. As

part of his guilty plea, Nader admitted his involvement in working with the defendant to funnel

more than $3.5 million originating from Nader and/or a foreign government into political

committees supporting one of the candidates for President in 2016. See Statement of Offense,



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ECF No. 10, No. 1:20-cr-103. In doing so, the defendant and Nader sought to gain access to and

influence with the Presidential candidate and other high-level U.S. government officials. See id.

Nader admitted, among other things, that he and the defendant conspired to conceal their crimes

by using encrypted messaging, coded language, and a fake licensing agreement. See id.

        As a consequence of the defendant’s continued fugitive status, including the fact he has not

been arraigned, the prosecution team has had no reason to make any determinations about whether

Nader would be called as a government witness if this case ever were to proceed to trial. The

prosecution team has not produced discovery, including discovery related to Nader, to the

defendant while the defendant remains a fugitive. The prosecution team further submits that

discovery should not be provided to the defendant until he is under the Court’s jurisdiction because

the Court’s Protective Order, see ECF No. 18, remains unenforceable against the defendant while

he remains in fugitive status. 3

        II.     ARGUMENT

        The defendant seeks three forms of relief from the Court. See ECF No. 250. First, the

defendant asks the Court to designate Nader as a material witness for trial, pursuant to 18 U.S.C.

§ 3144. Id. at 1. Second, the defendant asks the Court to order Nader to sit for a deposition,

pursuant to Federal Rule of Criminal Procedure 15, or alternatively, to detain Nader indefinitely

until the defendant decides to come back to the United States. See id. Third, the defendant asks

the Court to order the government to produce discovery related to Nader while the defendant



3
  Local Criminal Rule 5.1 makes clear that the government’s disclosure obligations begin after a
defendant has been arraigned: “Beginning at the defendant’s arraignment and continuing
throughout the criminal proceeding, the government shall make good-faith efforts to disclose such
information to the defense as soon as reasonably possible after its existence is known.” Since the
defendant, here, has not been arraigned, the Court should not require the government to
prematurely produce any criminal discovery.

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remains comfortably outside of the Court’s jurisdiction. See id. Defendant’s arguments in support

of his requested relief lack merit, and the Court should deny his motion in its entirety.

       First, the defendant should be precluded from seeking any relief from this Court while he

remains a fugitive under the fugitive disentitlement doctrine. Second, even if the Court finds that

doctrine does not apply, the defendant has not presented sufficient evidence to meet the

requirements necessary to order a Rule 15 deposition. Moreover, Rule 15 does not require

premature and unprotected disclosure of all discovery to a defendant. Third, whether it is

appropriate to designate Nader as a material witness for trial is unripe for judicial decision since

the defendant has not entered a plea in this case, let alone even been arraigned. The defendant’s

motion should be denied.

               A.      The Fugitive Disentitlement Doctrine

       In Molinaro v. New Jersey, 396 U.S. 365 (1970) (per curiam), the Supreme Court dismissed

an appeal because state authorities considered the appellant a fugitive after he failed to surrender

himself following a conviction and state-level affirmances. Id. at 365–66. In formulating what

has come to be called the “fugitive disentitlement doctrine,” the Court held, “While such an escape

does not strip the case of its character as an adjudicable case or controversy, we believe it

disentitles the defendant to call upon the resources of the Court for determination of his claims.”

Id. at 366. The Court later clarified, “the rule allowing dismissal of fugitives’ appeals has rested

in part on enforceability concerns, and in part on a ‘disentitlement’ theory that construes a

defendant’s flight during the pendency of his appeal as tantamount to waiver or abandonment.”

Ortega-Rodriguez v. United States, 507 U.S. 234, 240 (1993). The Court also invoked deterrence,

efficiency, and decorum principles in justifying the exercise of the disentitlement doctrine. See id.

at 242 (“[D]ismissal by an appellate court after a defendant has fled its jurisdiction serves an



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important deterrent function and advances an interest in efficient, dignified appellate practice.”);

cf. United States v. Reese, 993 F.2d 254, 256 (D.C. Cir. 1993) (“To reward the fugitive by granting

his claim to a second helping of the court’s limited resources would be perverse indeed.”). The

Second Circuit has described four purposes of the fugitive disentitlement doctrine: “1) assuring

the enforceability of any decision that may be rendered against the fugitive; 2) imposing a penalty

for flouting the judicial process; 3) discouraging flights from justice and promoting the efficient

operation of the courts; and 4) avoiding prejudice to the other side caused by the defendant’s

escape.” Empire Blue Cross and Blue Shield v. Finkelstein, 111 F.3d 278, 280 (2d Cir. 1997).

        The Supreme Court explained that power to invoke the fugitive disentitlement doctrine is

grounded in Article III courts’ “inherent authority to protect their proceedings and judgments in

the course of discharging their traditional responsibilities.” Degen v. United States, 517 U.S. 820,

823 (1996); see Daccarett-Ghia v. C.I.R., 70 F.3d 621, 623 (D.C. Cir. 1995) (describing fugitive

disentitlement doctrine as deriving from a “court’s authority to control its own proceedings.”).

The doctrine can be invoked, for example, “if the fugitive’s status in some way prejudiced the

government as a litigant by, for example, delaying any retrial, in which time the memory of

prosecution witnesses could fade.” Daccarett-Ghia, 70 F.3d at 623. The primary limiting

principle on the fugitive disentitlement doctrine is that there must be a connection between the

individual’s fugitive status and the case in which the sanction of disentitlement is enforced. See

id. at 626 (“If the individual’s fugitive status has no ‘connection’ to the present proceedings in the

sense that it neither affects the court’s ability to carry out its judicial business nor prejudices the

government as a litigant, the claim may not be dismissed.”) (citing Ortega-Rodriguez, 507 U.S. at

249).

        No district court in this Circuit has opined on the fugitive disentitlement doctrine’s



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applicability to a district court’s consideration of a pretrial motion, as opposed to an appellate

court’s review of a conviction. However, several district courts in other jurisdictions have used

the doctrine to refuse to reach the merits of a fugitive’s attempts to seek relief at the district court

level while remaining outside of the court’s jurisdiction and authority. See, e.g., United States v.

Kashamu, 656 F. Supp. 2d 863, 866–68 (N.D. Ill. 2009) (denying motion to dismiss under fugitive

disentitlement doctrine); United States v. Oliveri, 190 F. Supp. 2d 933, 935–36 (S.D. Tex. 2001)

(denying motion to dismiss under fugitive disentitlement doctrine and noting, “[a]lthough the

fugitive disentitlement doctrine is often invoked during the appellate process, it also applies to

pretrial motions made by fugitives in the district courts.”); United States v. Eagleson, 874 F. Supp.

27, 29–31 (D. Mass. 1994) (denying motion to vacate restraining order under fugitive

disentitlement doctrine); United States v. Stanzione, 391 F. Supp. 1201, 1202 (S.D.N.Y. 1975)

(denying motion to dismiss and reasoning, “[w]hile, of course, defendant has not yet been

convicted, until he is willing to submit his case for complete adjudication— win or lose— he

should not be permitted to call upon the resources of the court for the determination of selective

claims.”).

        The Supreme Court has made clear that a district court has broad discretion to fashion an

appropriate sanction for a defendant’s decision to become a fugitive from justice. See Ortega-

Rodriguez, 507 U.S. at 246 (“The contemptuous disrespect manifested by his flight was directed

at the District Court, before which his case was pending during the entirety of his fugitive period.

Therefore, under the reasoning of the cases cited above, it is the District Court that has the authority

to defend its own dignity, by sanctioning an act of defiance that occurred solely within its

domain.”). Moreover, the D.C. Circuit has expressed that a conviction is not a necessary

prerequisite for a court to invoke the fugitive disentitlement doctrine:



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               In truth and in fact appellants Dawkins and Schoop have not
               subjected themselves to the jurisdiction of this court. They have
               appeared by counsel only, and are willing to enjoy the fruits of any
               legal victory, but it is not apparent that they are willing to accept an
               adverse decree, and there is certainly no guarantee that they can be
               compelled to do so. As to how their pleas should be treated, although
               of course appellants have not been convicted of any charge here, we
               find a pertinent rationale in those cases in which the appellants have
               escaped confinement or jumped bail after conviction.

See Dawkins v. Mitchell, 437 F.2d 646, 648 (D.C. Cir. 1970). This Court should find that the

fugitive disentitlement doctrine can be appropriately applied to the present motion.

       The circumstances here satisfy the two-step analysis applied in United States v. Bescond,

24 F.4th 759 (2d Cir. 2021), to determine whether the facts of a case warrant the disentitlement

doctrine’s application. In Bescond, the Second Circuit held that to determine whether the fugitive

disentitlement doctrine applies, a court must determine (1) whether the defendant is a fugitive, and

(2) if disentitling the defendant would serve the doctrine’s objectives. Id. at 771; see also

Kashamu, 656 F. Supp. 2d at 867–68 (applying a similar two-step inquiry); Oliveri, 190 F. Supp.

2d at 936 (same).

                       1. Defendant is Legally a Fugitive

       The defendant in this case is a fugitive. The D.C. Circuit has not expressly defined the

term “fugitive” in the context of the fugitive disentitlement doctrine. However, the Circuit has

defined “fugitive” in another context by quoting the Supreme Court’s decision in Roberts v. Reilly,

116 U.S. 80, 97 (1885):

       To be a fugitive from justice, in the sense of the act of congress regulating the
       subject under consideration, it is not necessary that the party charged should have
       left the state in which the crime is alleged to have been committed, after an
       indictment found, or for the purpose of avoiding a prosecution anticipated or begun,
       but simply that having within a state committed that which by laws constitutes a
       crime, when he is sought to be subject to its criminal process to answer for his
       offence, he has left its jurisdiction, and is found within the territory of another.



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McGowen v. United States, 105 F.2d 791, 792 (D.C. Cir. 1939).

        One D.C. district court simplified the Supreme Court’s language by defining a “fugitive”

as, “[a] criminal suspect or a witness in a criminal case who flees, evades, or escapes arrest,

prosecution, imprisonment, service of process, or the giving of testimony.” Liuksila v. Turner,

351 F. Supp. 3d 166, 186 (D.D.C. 2018) (quoting BLACK’S LAW DICTIONARY (10th ed. 2014)).

Other courts have invoked the common law distinction between a “traditional fugitive” and a

“constructive-flight fugitive.” See, e.g., Bescond, 24 F.4th at 771–72. A “traditional fugitive” is

“[a] person who, having committed a crime, flees from [the] jurisdiction of [the] court where [a]

crime was committed or departs from his usual place of abode and conceals himself within the

district.” Id. (quoting BLACK’S LAW DICTIONARY (5th ed. 1979)). A “constructive-flight fugitive”

is one “who allegedly committed crimes while in the United States but who w[as] outside the

country—for whatever reason—when [he] learned that [his] arrest[ ] w[as] sought and who then

refused to return to the United States in order to avoid prosecution.” Collazos v. United States,

368 F.3d 190, 199 (2d Cir. 2004).

       Simply put, under any definition of the term fugitive utilized by this District and others, as

described above, the defendant is a fugitive from justice. The defendant was unquestionably aware

that he was under FBI investigation as early as August 2018. Since fleeing to Lebanon in June

2019, the defendant has made no effort to return to the United States. By his counsel’s own

admission, the defendant is aware of the charges against him. See ECF No 250 at 8 (“As noted,

Mr. Khawaja has been actively involved in this case and in regular contact with the government.”);

see also Kasahmu, 656 F. Supp. 2d at 867 (“Since Kashamu has retained a Chicago law firm to

represent him in this matter, and the only information the Court has regarding his whereabouts

indicates that he may be somewhere in Nigeria, the Court can safely infer that Kashamu is aware



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of the charges against him, and is purposefully absenting himself from the United States to avoid

arrest and arraignment on the charges.” (quotation marks omitted)). Despite his awareness of the

charges against him, the defendant has continued to fight extradition efforts to return him to the

United States, including apparent attempts to secure a fraudulent Mexican passport. His behavior

described above demonstrates continuous efforts to avoid prosecution in the United States.

       The defendant’s arguments to the contrary are specious at best. For example, he claims that

from December 2019 until August 2020 he was not a fugitive because he was merely delayed in

returning to the United States due to the onset of the COVID-19 pandemic and his stated desire to

visit his family. ECF No. 250 at 6–7. The defendant conveniently fails to explain, however, how

his stated excuses override his obligations to return to the United States to face prosecution—

particularly when he admits that COVID-related flight restrictions in Lebanon were in effect only

between March 2020 and July 2020. See id. at 7. Even accepting the defendant’s factual

representations at face value, he cites no case law that would support the proposition that one is

not a fugitive from justice if one voluntarily chooses to attend a months-long international business

trip and visit their family instead of returning to the United States to face criminal charges.

       The defendant makes an equally meritless argument, again citing no authority in support,

that because he has been subject to Lithuanian authority for the last three and a half years that he

cannot be considered a fugitive. Id. at 6. As explained above, the defendant could, at any time,

waive extradition proceedings and promptly return to the United States.

       Finally, both this Court and Judge Huvelle have identified this defendant as a “fugitive” in

the course of official proceedings in this case. See supra, Section I-B. The Court and Judge

Huvelle undoubtedly understood the definition and significance of that nomenclature when it was

used. And the defendant has not presented any argument that would undermine what this Court



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has already determined: the defendant is a fugitive.

                       2. Doctrine’s Objectives are Served by Disentitling Defendant

       As described above, the Supreme Court has identified interests of deterrence, efficiency,

and decorum as foundational principles undergirding the importance of the fugitive disentitlement

doctrine. See Ortega-Rodriguez, 507 U.S. at 242. Each of these three objectives are served by

applying disentitlement in this case.

       Here, the defendant used his substantial means and foreign ties to successfully flee from

justice and has remained overseas, voluntarily, because he has the resources and connections to do

so. By applying disentitlement here, the Court would send a strong deterrent message to others

similarly situated that courts will not allow defendants to use their resources to remain overseas

and avoid a court’s authority while also seeking favorable outcomes for themselves in the United

States. In addition, applying disentitlement will allow this Court to not waste precious judicial

resources on motion practice for a case that may never be resolved. Undoubtedly, if this Court

does not apply disentitlement, the defendant will begin engaging in significant motion practice

seeking more relief from the Court that will put him in a better posture. And if the Court’s

decisions on the merits of those motions are undesirable to the defendant, he can simply choose to

continue fighting extradition. Because the Court has no assurances that the defendant will ever

return to the United States, it should, in the interests of judicial economy, apply disentitlement

here. Finally, for the sake of decorum, the Court should not permit this defendant to do what the

D.C. Circuit frowned upon in Dawkins. See 437 F.2d at 649 (“appellants [should not be able] to

invoke only half our jurisdiction, i.e., the winning side.”).

       Moreover, the government submits that the defendant should not be awarded a windfall by

being allowed to pick and choose issues he wishes to litigate all-the-while the government remains



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prejudiced by his decision to remain a fugitive. See Finkelstein, 111 F.3d at 280 (describing four

purposes of the fugitive disentitlement doctrine as “1) assuring the enforceability of any decision

that may be rendered against the fugitive; 2) imposing a penalty for flouting the judicial process;

3) discouraging flights from justice and promoting the efficient operation of the courts; and

4) avoiding prejudice to the other side caused by the defendant’s escape.” (emphasis added)).

Indeed, some of the conduct at issue here occurred more than eight years ago. While much of the

evidence in this case is documentary, witnesses may be called to testify if this case goes to trial,

and the defendant may seek to challenge the memories of those witnesses. Application of the

disentitlement doctrine will ensure that the defendant is not further benefited, and the government

not further prejudiced, by his continued fugitivity. 4

       The defendant’s sole argument that the objectives of the disentitlement doctrine are not

served by its application here is that the defendant continues to abide by Lithuanian authorities’

conditions of release, and thus “there are no grounds to find that Mr. Khawaja would not abide by

decisions of this Court.” See ECF No. 250 at 8. He asserts that there is “no need to impose a

penalty.” Id. Putting aside that the defendant fails to engage with any of the other objectives of

the disentitlement doctrine, his argument about compliance with Lithuanian conditions of release

falls flat. The defendant again ignores that he can waive extradition at any time and that his

compliance with the Lithuanian conditions of release is a requirement to maintain his challenge to

extradition. The defendant is not within this Court’s jurisdiction and is under no obligation to

follow any of this Court’s rulings.


4
  The government submits that the other purposes of the disentitlement doctrine described in
Finkelstein – 1) assuring the enforceability of any decision that may be rendered against the
fugitive; 2) imposing a penalty for flouting the judicial process; 3) discouraging flights from justice
and promoting the efficient operation of the courts—are also furthered by the Court applying the
doctrine in this case.

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       In short, the fugitive disentitlement doctrine’s application in this case would serve every

purpose outlined by courts that have applied the doctrine, including the Supreme Court. The Court

should exercise its discretion by not rewarding the defendant for continuing to avoid this Court’s

authority. The defendant’s motion, in its entirety, should be denied.

                 B.    Rule 15 Deposition

       Should the Court choose to reach the merits of the defendant’s motion, the portion of the

motion seeking to depose George Nader and for premature discovery should nevertheless be

denied because the defendant has failed to meet the requirements of Federal Rule of Criminal

Procedure 15 and misinterprets the Rule’s proviso about discovery production. Rule 15(a)

provides that,

       A party may move that a prospective witness be deposed in order to preserve
       testimony for trial. The court may grant the motion because of exceptional
       circumstances and in the interest of justice. If the court orders the deposition to be
       taken, it may also require the deponent to produce at the deposition any designated
       material that is not privileged, including any book, paper, document, record,
       recording, or data.

       “The purpose of Rule 15(a) is to preserve testimony for trial, not to provide a method of

pretrial discovery.” United States v. Kelley, 36 F.3d 1118, 1124–25 (D.C. Cir. 1994) (quotation

marks omitted); see also United States v. Warren, 713 F. Supp. 2d 1, 3 (D.D.C.2010) (“Rule 15

permits depositions in a criminal case to preserve testimony, not to foster discovery, and only in

exceptional situations.”). “There is a distinct preference for having witnesses in criminal trials

present for the jury to view, to assess, themselves confront. The concept of having depositions is

an inferior technique for presenting these witnesses to a jury.” United States v. Sanford, Ltd., 860

F. Supp. 2d 1, 3 (D.D.C. 2012) (quoting United States v. Ismaili, 828 F.2d 153, 156 (3d Cir. 1987)).

Because of the inferior nature of deposition testimony in criminal cases, the proponent of the

deposition must establish that (1) exceptional circumstances exist justifying the deposition and

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(2) ordering the deposition would be in the interest of justice. See Fed. R. Crim. P. 15(a); Kelley,

36 F.3d at 1124–25; United States v. Vo, 53 F. Supp. 3d 77, 82–83 (D.D.C. 2014). Here, the Court

should reject the defendant’s ill-disguised attempt to use a Rule 15 deposition to gather discovery

while evading the Court’s jurisdiction. Indeed, the defendant has failed to present sufficient proof

that exceptional circumstances exist and that ordering a deposition would be in the interests of

justice.

                         1.     Exceptional Circumstances

           It is the party who moves to take the deposition that “bears the burden of demonstrating

that ‘exceptional circumstances’ necessitate the preservation of testimony through a deposition.”

Kelley, 36 F.3d at 1124. The D.C. Circuit requires consideration of at least two factors in assessing

whether the “exceptional circumstances” requirement has been met: (a) the materiality and

exculpatory nature of the testimony sought and (b) the unavailability of the witness to testify at

trial. Id. at 1125; Sanford, Ltd., 860 F. Supp. 2d at 4.

                                a.      Materiality and Exculpatory Nature

           In assessing whether a defendant seeking to depose a witness has established that the

testimony sought is material and exculpatory, “courts have applied the standards for material and

exculpatory information developed in the caselaw interpreting Brady v. Maryland, 373 U.S. 83

(1963).” Sanford, Ltd., 860 F. Supp. 2d at 4. “[E]vidence is ‘material’ within the meaning of

Brady when there is a reasonable probability that, had the evidence been disclosed, the result of

the proceeding would have been different.” Cone v. Bell, 556 U.S. 449, 469–70 (2009). “[T]he

offering party must show that, with the witness’s testimony, the likelihood of a different result is

great enough to undermine confidence in the outcome of the trial.” United States v. Trabelsi, No.

06-CR-89 (RDM), 2023 WL 4341429, at *2 (D.D.C. Apr. 5, 2023) (quotation marks omitted).



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“[T]he purpose of Rule 15 is testimony preservation and not discovery, such that an unavailable

witness’s testimony should be material to the case of the party seeking the deposition.” United

States v. Little, No. 12-CR-00647 ALC, 2014 WL 3604417, at *2 (S.D.N.Y. Jul. 16, 2014).

       Significantly, “there is typically some showing beyond ‘unsubstantiated speculation,’ that

the evidence exculpates the defendant.” Kelley, 36 F.3d at 1125 (citing Guam v. Ngirangas, 806

F.2d 895, 897 (9th Cir. 1986); United States v. Wilson, 601 F.2d 95, 97 (3d Cir. 1979); United

States v. Ontiveros–Lucero, 621 F. Supp. 1037, 1038 (W.D. Tex. 1985), aff'd, 790 F.2d 891 (5th

Cir. 1986)).    “Testimony that offers only ‘general observations,’ as opposed to direct or

circumstantial evidence, is not considered material or exculpatory.” United States v. Warren, 713

F. Supp. 2d 1, 4 (D.D.C. 2010) (citing United States v. Straker, 567 F. Supp. 2d 174, 181–82

(D.D.C. 2008)). In addition, the evidence must not merely be “corroborative or cumulative of

other evidence.” Vo, 53 F. Supp. 3d at 82.

       In Sanford, Ltd., the court denied the defendants’ request to depose two witnesses when

the defendants failed to establish anything beyond speculation about what testimony those

witnesses would provide that would be material and exculpatory to the defendants. 860 F. Supp.

2d at 12–13. While acknowledging that a defendant is not strictly required to produce an affidavit

from the proposed deponent, the court found that “the lack of such declarations is indicative of the

lack of foundation for the pre-trial depositions of these two individuals.” Id. at 12. The court

explained, “[g]iven that the defendants have had no contact with [the proposed deponents], the

defendants' representations as to the evidence that [the proposed deponents] will provide, and to

their alleged unavailability, is pure speculation.” Id. The court held, “[t]he lack of support for the

defendants’ position alone warrants denial of the defendants’ request to depose the [the

witnesses].” Id.



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       The defendant, here, fails to offer any binding or analogous precedent in support of his

position. Rather, the defendant’s attorney offers only the conclusory claim, “[b]ased upon my

investigation to date, I anticipate Mr. Nader will be the source of substantial exculpatory

evidence.” Affidavit of Kenneth Julian, ECF No. 249 at 7. As the proponent of the deposition,

the defendant must do more than offer bare, conclusory claims about the materiality and

exculpatory nature of the witness’s testimony. Just as the court did in Sanford, Ltd., this Court

should find that this conclusory statement fails to establish anything beyond speculation about the

materiality of Nader’s testimony to the defendant’s defense. Accordingly, the defendant has failed

to meet this requirement, and thus, has failed to show that exceptional circumstances warrant

deposing Nader.

                               b.      Unavailability

       The defendant has similarly failed to show that Nader will be unavailable for live testimony

at trial. “A witness's unavailability in the context of Rule 15(a)(1) is defined by reference to

Federal Rule of Evidence 804(a), which provides, in relevant part, that a witness is unavailable if

he or she is absent from the hearing and the proponent of a statement has been unable to procure

the declarant's attendance . . . by process or other reasonable means.” Sanford, Ltd., 860 F. Supp.

2d at 4 (cleaned up). “Unavailability is to be determined according to the practical standard of

whether under the circumstances the [party seeking to take the deposition] has made a good-faith

effort to produce the person to testify at trial.” Id. (quoting United States v. Johnpoll, 739 F.2d

702, 709 (2d Cir. 1984)). “[A] witness is ‘unavailable’ for purposes of Rule 15(a) if ‘a substantial

likelihood exists that [he] . . . will not testify at trial.’” Trabelsi, 2023 WL 4341429, at *3 (quoting

United States v. Drogoul, 1 F.3d 1546, 1553 (11th Cir. 1993)). In addition, “[a] witness who

resides abroad and outside the reach of a court’s subpoena power is not automatically ‘unavailable’



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without a further showing that he or she will not testify in court.” Warren, 713 F. Supp. 2d at 4.

Even for witnesses residing in foreign countries, “[t]he burden is on defendant to procure their

attendance by ‘reasonable means’ and resort to relief under Rule 15 if his procurement attempts

fail.” Id.

        One particular provision of Rule 804(a) is particularly relevant to the unavailability

analysis in this case. Rule 804(a) states, in part, “[b]ut this subdivision (a) does not apply if the

statement’s proponent procured or wrongfully caused the declarant’s unavailability as a witness in

order to prevent the declarant from attending or testifying.” While the government has identified

no authority in this Circuit that has applied this portion of Rule 804(a) to a Rule 15 unavailability

analysis, the government encourages the Court to consider it, here. As explained above, the

defendant has been a fugitive since 2019. Since that time, Nader has pleaded guilty in this case

and has been incarcerated. Thus, for the entirety of the time the defendant has decided to remain

a fugitive from justice, Nader has been available for live testimony at a trial for the defendant. It

is only by the defendant’s own choices and actions that the prospect of Nader leaving the United

States before the defendant’s trial has become a possibility. In other words, even if Nader is or

will become unavailable, it is the defendant who wrongfully caused that unavailability by

remaining a fugitive for more than four years. The defendant should not be able to cause the

potential unavailability and subsequently seek relief predicated on that unavailability.

        Here, the defendant has failed to meet his burden in proving that Nader will be unavailable

at trial. Specifically, the defendant has provided no affidavit from Nader or his counsel attesting

that Nader will defy this Court’s order to appear for a reentry hearing. Nor has the defendant

provided any evidence that Nader would be unwilling to voluntarily come back to the United States

if called upon to testify.



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       Moreover, the government underscores that approximately seven months remain between

the date of this filing and Nader’s projected release. If the defendant believes that Nader’s

testimony will exculpate him, he could, of course, return to the United States, enter a plea of “not

guilty,” and request a trial date before Nader’s release. But as defense counsel admitted, “[t]here

is currently no date set for Mr. Khawaja’s return to the United States.” Affidavit of Kenneth Julian,

ECF No. 249 at 8. Accordingly, the defendant has failed to show a substantial likelihood that

Nader will be unavailable for trial, and thus, has failed to prove that exceptional circumstances

warrant taking his deposition.

                       2.        Interest of Justice

       In addition to failing to establish exceptional circumstances warranting the deposition, the

defendant has failed to establish that ordering Nader’s deposition would be in the interest of justice.

As one district court explained in regard to the “interest of justice” component of Rule 15(a),

       Some courts have read this to mean that courts should consider countervailing
       considerations. See, e.g., United States v. Aggarwal, 17 F.3d 737, 742 (5th Cir.
       1994) (considering untimeliness of request); Drogoul, 1 F.3d at 1555. The D.C.
       Circuit has not addressed the issue. But the similarity of the standard (“in the
       interest of justice”) to tests found elsewhere in the Federal Rules suggests that
       balancing countervailing considerations is appropriate.

Vo, 53 F. Supp. 3d at 82. Although the Eleventh Circuit is the only Circuit that specifically requires

addressing countervailing considerations, other courts have informally taken into account other

considerations in conducting a Rule 15 analysis. See, e.g., United States v. Mann, 590 F.2d 361,

366 (1st Cir. 1978) (considering the admissibility of the testimony in determining whether a Rule

15(a) deposition is appropriate); United States v. Bello, 532 F.2d 422, 423 (5th Cir. 1976) (citing

the overwhelming evidence of guilt offered by the prosecution as a reason for declining to allow a

Rule 15(a) deposition).

       There are several countervailing factors here, each of which make clear that the defendant’s

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request to depose Nader is not in the interest of justice. First, and most significantly, the defendant

is a fugitive. He has provided this Court no timeline for his return to the United States and has

attempted to place conditions on the Court for any appearance before the Court or for the

deposition of Nader. See ECF No. 250 at 6 (“Mr. Khawaja would be willing to appear before the

Court from Lithuania via Zoom, if necessary.”). It would not be in the interest of justice for a

fugitive to be permitted to develop his trial strategy through court-authorized means while

continuing to refuse to submit to the Court’s jurisdiction.

        Second, the efficient use of precious court and taxpayer resources counsels against

permitting the defendant to take Nader’s deposition while the defendant continues to evade justice.

Indeed, conducting Nader’s deposition would prove to be a waste of government, and potentially

Court, resources if the defendant (1) returns to the United States and stands trial before Nader is

released from custody; (2) never returns to the United States; or (3) returns to stand trial and Nader

is available to be called as a witness at trial. Accordingly, it is not in the interest of justice to waste

taxpayer and judicial resources on this defendant’s requests while he remains a fugitive.

        The defendant does not cite any authority to support the proposition that ordering Nader’s

deposition would be in the interest of justice. Instead, he once again makes only a conclusory

claim that “The facts presented in the Julian Affidavit provide exceptional circumstances, and the

interests of justice[.]” ECF No. 250 at 4. He provides nothing more to support this claim. This

cannot be enough to overcome the countervailing considerations that tend to show ordering a

deposition of Nader would not be in the interest of justice.

        Because the defendant fails to show that there are exceptional circumstances warranting a

deposition of Nader and that Nader’s deposition would be in the interests of justice, the Court

should deny the defendant’s motion.



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                        3.      Discovery

         The defendant makes a sweeping request that the Court order the government to produce

“any discovery due under Federal Rule of Criminal Procedure 16, Brady, and Giglio, as it pertains

to the Nader-related portions of the Indictment.” ECF No. 250 at 5. He also suggests that he will

likely request, “that Mr. Nader’s phones be searched for custodians and exculpatory

communications in support of Mr. Khawaja’s defenses that may not have been covered or

anticipated in prior government searches of those devices. Mr. Nader’s counsel reports that the

government investigation involved searches of ‘six different phones.’” Id. at 4–5.

         First, if the Court denies the defendant’s request for a Rule 15 deposition, as the facts and

law suggest it should, the defendant’s discovery request is moot and should be denied. Second,

the defendant’s request goes far beyond the bounds of what Rule 15 requires. Specifically, when

a defendant is the proponent of the deposition, Rule 15 requires the government to provide only

“any statement of the deponent in the government's possession to which the defendant would be

entitled at trial.” Fed. R. Crim. P. 15(e)(3); see United States v. Cooper, 947 F. Supp. 2d 108,

116–17 (D.D.C. 2013) (rejecting defendant’s claim that he was entitled to receive all discovery

prior to Rule 15 depositions). Thus, even if the government is required to produce discovery, it

should only be required to produce Nader’s statements that are within the possession of the

prosecution team. The government should not be required to, as the defendant suggests, essentially

produce its entire discovery file that may, in some way, touch on pieces of the indictment involving

Nader.

                C.      Material Witness Designation for Trial

         Finally, the Court should deny the defendant’s request to designate Nader as a material

witness for trial, under 18 U.S.C. § 3144. “A person apprehended as a material witness is not



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accused of any crime but, instead, has been arrested because it is believed that his . . . ‘testimony

is material in a criminal proceeding.’” Ctr. for Nat'l Sec. Studies v. U.S. Dep't of Justice, 215 F.

Supp. 2d 94, 106 (D.D.C. 2002), aff'd in relevant part, 331 F.3d 918 (D.C. Cir. 2003) (quoting 18

U.S.C. § 3144). The defendant has failed to establish that Nader is a material witness because he

has failed to establish the materiality of Nader’s testimony to his defense, as articulated above in

Section II-B-1-a. The defendant only parrots the indictment, instead of providing this Court with

any explanation of how Nader is material to his defense at trial.

        In addition, principles of justiciability warrant rejecting the defendant’s request to

designate Nader as a material witness for trial at this time. Section 3144 requires the proponent to

identify “a criminal proceeding” at which the witness’s testimony will be material. The plain

meaning of the phrase “a criminal proceeding” is a specific “criminal hearing or trial.” See

BLACK’S LAW DICTIONARY (11th ed. 2019) (defining criminal proceeding as “A judicial hearing,

session, or prosecution in which a court adjudicates whether a person has committed a crime or,

having already fixed guilt, decides on the offender's punishment; a criminal hearing or trial.”); see

also Fed. R. Crim. P. 17 (requiring subpoena to state the “title of the proceeding”). Throughout

the defendant’s motion and his counsel’s affidavit, it is clear that the specific “proceeding” at

which they claim Nader’s testimony will be material is the defendant’s trial. See, e.g., ECF No.

250 at 5 (“In order to take an effective deposition, especially one intended to substitute at trial for

Mr. Nader’s live testimony . . . .).

        Issues pertinent to a potential trial of the defendant are unripe for consideration in this case.

“Ripeness, while often spoken of as a justiciability doctrine distinct from standing, in fact shares

the constitutional requirement of standing that an injury in fact be certainly impending.” Nat'l

Treasury Emps. Union v. United States, 101 F.3d 1423, 1427 (D.C. Cir. 1996). A matter is ripe



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for judicial review “when it presents a concrete legal dispute [and] no further factual development

is essential to clarify the issues . . . [and] there is no doubt whatever that [the issue] has crystallized

sufficiently for purposes of judicial review.” See Pub. Citizen v. Dep't of State, 276 F.3d 634, 641

(D.C. Cir. 2002) (citation omitted). A matter is not ripe “if it rests upon contingent future events

that may not occur as anticipated, or indeed may not occur at all.” Texas v. United States, 523

U.S. 296, 300 (1998) (quotation marks omitted). In addition to constitutional ripeness concerns,

“prudential ripeness ensures that Article III courts make decisions only when they have to, and

then, only once.” Am. Petroleum Inst. v. E.P.A., 683 F.3d 382, 387 (D.C. Cir. 2012). The

prudential ripeness of a matter is determined by consideration of whether the issue is fit for judicial

decision and the extent to which withholding decision will cause hardship to the parties. See id.

While ripeness is often invoked in the context of bringing an administrative or civil action, courts

have applied the doctrine to determinations of specific matters in criminal cases. See, e.g., United

States v. Kember, 648 F.2d 1354, 1362 (D.C. Cir. 1980) (rejecting Fifth and Sixth Amendment

challenges brought by witnesses being held in contempt of court because those challenges were

brought too soon).

        Here, the defendant cannot plausibly claim that designation of Nader as a material witness

for trial is ripe for consideration given the surrounding speculation and uncertainty regarding

whether the defendant will actually stand trial in this case given his continuing efforts to evade

justice. The defendant has not yet taken the preliminary step that triggers the potential for a trial—

entering a plea of “not guilty” in this case. As Federal Rule of Criminal Procedure 10 requires, a

defendant must enter a plea to the indictment brought against him. Fed. R. Crim. P. 10(a)(3). “A

defendant may plead not guilty, guilty or, with the consent of the court, nolo contendere.” United

States v. Gray, 448 F.2d 164, 167 (9th Cir. 1971). The Supreme Court has held that a proper



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arraignment is a necessary prerequisite to a trial in a criminal case. See Hamilton v. State of Ala.,

368 U.S. 52, 54 n.4 (1961) (“Under federal law an arraignment is a sine qua non to the trial itself—

the preliminary stage where the accused is informed of the indictment and pleads to it, thereby

formulating the issue to be tried.”). And as the Supreme Court made clear, a matter is not ripe “if

it rests upon contingent future events that may not occur as anticipated, or indeed may not occur

at all.” Texas, 523 U.S. at 300.

        Accordingly, the Court should deny the defendant’s request to designate Nader as a

material witness for trial.

                D.      Status Conference

        Finally, the government respectfully submits that in light of the forgoing, a status

conference on the defendant’s motion is unnecessary, and the Court should apply the fugitive

disentitlement doctrine to deny the defendant’s motion in its entirety.           Nevertheless, the

government acknowledges that the Court has already granted the portion of the defendant’s motion

seeking a status conference and will be present and prepared to address the issues herein should

the Court’s Order remain unchanged. Minute Order (May 30, 2024).

        III.    CONCLUSION

        Until the defendant returns to the United States, he should be afforded no relief from this

Court. His motion, whether considered on the merits or under the fugitive disentitlement doctrine,

should be denied.




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                                    Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

attorneys of record for the defendants.



Dated: June 13, 2024                                /s/ Jordan Dickson
                                                    Jordan Dickson
                                                    Public Integrity Section
                                                    Criminal Division
                                                    U.S. Department of Justice




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